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                        United States District Court
                         Northern District of Texas
                           Fort Worth Division
STATE OF TEXAS,
   Plaintiff,
v.                                              Case 4:21-cv-00579-P
JOSEPH R. BIDEN, JR., et al.;
   Defendants.

          Texas’s Renewed Motion for Preliminary Injunction
   As set forth in its accompanying brief, the State of Texas moves that the

Court issue a preliminary injunction requiring the Defendants to cease their

exclusion of certain aliens from the Title 42 rapid-expulsion procedures and to

detain qualifying aliens for a period sufficient to determine whether they are

carrying the SARS-CoV-2 virus.

Dated September 7, 2021.            Respectfully submitted,
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                         Certificate of Conference
  I certify that I conferred with Brian Stoltz, counsel for the Defendants, on
August 16, 2021. He informed me that the Defendants oppose this motion.
                                       /s/ Leif A. Olson

                            Certificate of Service
    I certify that on September 7, 2021, I filed with the Court’s CM/ECF system,
which serves filed documents on all counsel of record, (a) this Renewed Motion
for Preliminary Injunction, (b) the brief supporting this motion, and (c) the
appendix to this motion.
                                       /s/ Leif A. Olson




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